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13                            IN THE UNITED STATES DISTRICT COURT
14                                 FOR THE DISTRICT OF ARIZONA

15   United States of America,                      No. CR-18-422-PHX-SMB
16                              Plaintiff,          REPLY OF DEFENDANTS LACEY,
17                                                  LARKIN AND SPEAR IN SUPPORT OF
        v.                                          MOTION TO DISMISS INDICTMENT
18
     Michael Lacey, et al.,                         PUBLIC VERSION - REDACTED
19
                                Defendants.
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 1                                       I.      INTRODUCTION
 2             No court has ever upheld a Travel Act prosecution of a publisher for the act of publish-
 3   ing online advertisements, see infra 13-14, yet the government insists the First Amendment is a
 4   stranger to this case. Contrary to the bedrock constitutional principle that all speech is pre-
 5   sumptively protected, Ashcroft v. Free Speech Coalition, 535 U.S. 234, 255 (2002), the government
 6   contends there is no constitutional overreach with this first-of-its-kind prosecution based on
 7   vicarious liability where speech “concerns illegal activity.” Resp. 2.1 But the government ig-
 8   nores several of the most basic tenets of First Amendment law, including that the government
 9   cannot create new unprotected categories of speech, United States v. Stevens, 559 U.S. 460, 468-69
10   (2010); that it cannot prosecute a speech intermediary for material that person has never seen,
11   Smith v. California, 361 U.S. 147, 152-55 (1959); that speech cannot be criminalized absent a
12   showing of specific intent, United States v. Sineneng-Smith, 910 F.3d 461, 480-81 (9th Cir. 2018);
13   and that any indictment based on speech must satisfy elevated First Amendment standards. Id.
14   at 485.
15             This prosecution was mounted in the face of numerous cases holding that online
16   classified advertising sites—including Backpage.com specifically—receive First Amendment
17   protection. Mot. 5-8, 17-18 (listing cases). The government tries to evade this expansive body
18   of law by falsely claiming these cases pertain only to immunity provided under Section 230 of
19   the Communications Decency Act, Resp. 2, 21, 28, and asserting that those rulings have been
20   eclipsed by a “sea-change” resulting from information unearthed about Backpage. Id. 2, 22. It
21   does so by misdirection: presenting broad accusatory conclusions as if they were allegations of
22   fact and blatantly misstating the law.
23             The government tries to deny this case presents a “novel theory” of vicarious liability, and
24   claims that several courts “have recently recognized that prostitution websites like Defendants
25   [sic] may be prosecuted under federal law.” Id. 3 (citing United States v. Ulbricht, 31 F. Supp. 3d 540
26

27      1  The United States’ Response to Defendants’ Motion to Dismiss Indictment (Doc. 634) is
     cited here as “Resp.” Defendants’ motion (Doc. 561) is cited as “Mot.” “Defendants” refers
28
     to the movants: James Larkin, Michael Lacey, John Brunst, and Scott Spear.

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 1   (S.D.N.Y. 2014)). This, in a nutshell, illustrates the government’s habit of playing fast and loose
 2   with legal authorities and highlights the glaring deficiencies of this flawed indictment. Two of the
 3   three “cases” it cites are nothing more than plea bargains, and in the third (Ulbricht), the
 4   prosecution targeted active participation in selling contraband, including accepting payment for and taking a
 5   cut of every illegal sale—not the hosting of third-party content, as in this case. See infra 13.
 6           For all the conclusory chest-pounding about the supposed “sea-change—from
 7   congressional investigations, subpoena responses, and other sources, Resp. 22-23—the SI
 8   contains no allegations of actual participation in illegal activities by Defendants, unlike in Ulbricht.
 9   Nor does the government enlighten this Court as to a single substantive holding in a single case
10   that might have been different had the government’s “new and improved” evidence been visited
11   upon the deciding court. In both civil and criminal cases, courts rejected liability based on
12   Backpage’s website design and moderation policies and practices, finding they “amount to
13   neither affirmative participation in an illegal venture nor active web content creation.” Doe v.
14   Backpage.com, LLC, 104 F. Supp. 3d 149, 157, 162 (D. Mass. 2015), aff’d, 817 F.3d 12 (1st Cir.
15   2016), cert. denied, 137 S. Ct. 622 (2017) (“Doe No. 1”). Courts found Backpage’s use of
16   moderation policies “is not prohibited activity” but instead “generally falls within the scope of
17   protected editorial functions.” California v. Ferrer, 2016 WL 7237305, at *5 (Cal. Super. Ct. Sac.
18   Cty. Dec. 9, 2016) (“Ferrer I”) (citing, inter alia, Doe No. 1, 817 F.3d at 20-21). The government’s
19   attempt to brush off this robust body of case law by claiming it only dealt with statutory
20   immunity under Section 230, Resp. 2, 21, 28, is a transparent falsehood, as is its suggestion that
21   any holdings have been “reversed” by the issuance of sanctions against Backpage. See infra 11-12
22   n.14.
23           For all the hype about the Senate investigations, subpoena responses, and internal
24   documents, the SI still lacks the essential allegations of fact necessary to charge a publisher of
25   third-party content with a crime in conformance with First Amendment standards—allegations
26   that Defendants had advance knowledge of specific illegal ads and acted to further those ends.
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 1   If there has been any “sea-change,” it is not in the strength of the government’s case, but in its
 2   willingness to disregard constitutional commands. In bringing this indictment, the government
 3   embarked on a scorched-earth approach that closed down the second largest classified ad website
 4   in the United States and carted publishers off to jail for publishing third-party content that no
 5   Defendant is alleged to have written, helped write, or read. The government asks this Court to
 6   write a lot of new First Amendment law by ignoring decades of bedrock principles. The Court
 7   should decline this invitation.
 8                                         II.       ARGUMENT
 9           Cutting through the clutter, this Motion to Dismiss can be decided by answering the
10   following five questions:
11           A.     Does the First Amendment Apply In This Case?
12           The First Amendment is central to this case, which seeks to prosecute a publisher for
13   publishing. The government asserts ad nauseam that the First Amendment does not apply at all
14   because solicitations for illegal activity are entirely excluded from First Amendment protection,
15   Resp. 16-17, 35, but this ignores the basic principle that speech is presumed protected, and that
16   the government always has the burden to prove otherwise.2 In particular, “[p]roviding a forum
17   for online publishing is a recognized legal purpose” protected by the First Amendment.
18   California v. Ferrer, No. 16FE024013 (Cal. Super. Ct. Sac. Cty. Aug. 23, 2017) (“Ferrer II”), slip
19   op. at 13.3 Charging speech as “unprotected” is precisely why the First Amendment does apply,
20   because it defines the substance of what the government must allege, and at what level of
21   specificity.
22

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         2 Ashcroft v. ACLU, 535 U.S. 564, 573 (2002); United States v. Playboy Entm’t Grp., Inc., 529
24   U.S. 803, 818 (2000). “The Government may not suppress lawful speech as the means to
25
     suppress unlawful speech. Protected speech does not become unprotected merely because it
     resembles the latter. The Constitution requires the reverse.” Free Speech Coalition, 535 U.S. at
26   255.
27       3  See also Ferrer I, 2016 WL 7237305, at *3, *10 (holding Backpage’s provision of “a forum
     for online publishing” and receiving payments for ads insufficient to support charges of
28
     facilitating prostitution, or money laundering).

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 1          While certain categories of speech have always lacked constitutional protection, e.g.,
 2   “obscenity, defamation, fraud, incitement, and speech integral to criminal conduct,” Sineneng-
 3   Smith, 910 F.3d at 470 (citation omitted), “third-party publication of offers to engage in illegal
 4   transactions” does not fall within those “‘well-defined and narrowly limited classes.’”
 5   Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1281-82 (W.D. Wash. 2012) (citing
 6   Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72 (1942); Brown v. Entm’t Merchs. Ass’n, 564 U.S.
 7   786, 791 (2011)). When the government seeks to prosecute speech as falling into one of these
 8   exceptions, pleading requirements are governed by the First Amendment.4
 9          B.      Must the Indictment Comply with First Amendment Requirements?
10          In addition to basic Fifth and Sixth Amendment requirements, an indictment charging
11   crimes based on speech is defective on its face and must be dismissed if it fails to meet First
12   Amendment standards. Sineneng-Smith, 910 F.3d at 480-85. This is because a charge under any
13   statute “which makes criminal a form of pure speech, must be interpreted with the commands of
14   the First Amendment clearly in mind.” Watts v. United States, 394 U.S. 705, 707 (1969); Ashton v.
15   Kentucky, 384 U.S. 195, 198, 200 (1966) (“When First Amendment rights are involved, we look
16   even more closely lest, under the guise of regulating conduct that is reachable by the police
17   power, freedom of speech or of the press suffer.”). In such cases, the government must “more
18   specifically identify the precise conduct upon which it seeks to hold each defendant criminally
19   liable.” United States v. Buddenberg, 2010 WL 2735547, at *9 (N.D. Cal. July 12, 2010). The
20   indictment must allege (1) what specific conduct (or speech) falls within the elements of the
21   applicable statute, and (2) how particular speech in question lacks protection under substantive First
22   Amendment principles. Sineneng-Smith, 910 F.3d at 480-85; United States v. Cassidy, 814 F. Supp.
23

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        4
           E.g., Miller v. California, 413 U.S. 15, 23-25 (1973) (government must show that work,
25   taken as a whole, meets three-part test to be considered obscene); Brandenburg v. Ohio, 395 U.S.
26   444, 447-49 (1969) (government must prove that speaker intended to provoke immediate
     commission of crime and that speech was likely to produce such a result to be considered
27   incitement); Virginia v. Black, 538 U.S. 343, 359 (2003) (to show a “true threat,” government
     must prove “speaker means to communicate a serious expression of an intent to commit an act
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     of unlawful violence to a particular individual or group of individuals”).

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 1   2d 574, 587 (D. Md. 2011). The SI alleges neither. It simply culls a few individual Backpage ads
 2   from a 14-year period—none of which it alleges any defendant wrote, helped write or read—and
 3   attempts to use those to criminalize the publication of tens of millions of ads over the same
 4   period.
 5             It does not address this deficiency to argue the SI meets the “minimal” constitutional
 6   requirements of Rules 7 and 12, and that it is enough simply to recite the elements of the
 7   Travel Act and the money laundering and conspiracy statutes. Resp. 12-16. The Travel Act
 8   allegations are the key to all of the SI’s flaws, and they perfectly illustrate the government’s
 9   blindness to its immovable First Amendment problem.5 It argues it is enough to simply allege
10   Defendants (1) used a facility in interstate commerce, (2) with intent to facilitate unlawful
11   activity, and (3) performed overt acts to further that objective. Resp. 30. The Travel Act on its
12   face does not purport to regulate speech, and in the cases the government cites—none of
13   which involve speech—bare recitation of those statutory elements may suffice. But the
14   prosecution in this case is for operating a website—a publishing enterprise involving nothing but
15   speech—so “[m]ore is needed to inform each defendant of the specific offense … than merely
16   reciting the statutory language.” Buddenberg, 2010 WL 2735547, at *8. See United States v.
17   Landham, 251 F.3d 1072, 1079-80, 1084 (6th Cir. 2001).
18             The First Amendment requires far more specificity where a statute does not precisely
19   define the speech subject to prosecution (as is certainly the case for the Travel Act’s
20   unbounded “facilitation” element, which includes anything that makes the offense “easy or less
21   difficult.” Resp. 32 n.16). Thus, in Buddenberg, the court dismissed an indictment charging vio-
22   lation of the Animal Enterprise Terrorism Act, 18 U.S.C. § 43 (and conspiracy to violate the
23   law), which alleged that defendants engaged in a “course of conduct” involving threats, acts of
24   vandalism, property damage, criminal trespass, harassment, and intimidation, but that failed to
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26
        5  All charges in the SI are dependent on the constitutional sufficiency of the Travel Act
     allegations. Dismissal of those counts necessarily requires dismissal of charges based on
27   conspiracy and money laundering as well. See, e.g., Ferrer II, slip op. at 18 (“Because this Court
     has rejected the prosecution based on … pimping, the[] purported use of proceeds from
28
     prostitution cannot [] serve as the basis for money laundering charges.”).

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 1   identify the specific statements at issue. 2010 WL 2735547, at *1. The court rejected
 2   government claims that it need not allege “specific acts” because a “course of conduct that
 3   includes … trespass and vandalism … is not protected by the First Amendment.” It held for
 4   any constitutionally protected conduct, “the government [must] prove [it] amounts to ‘true
 5   threats’ which are not protected.” Id. at *5. The court explained that specific allegations in the
 6   indictment are essential “for the court to be able to determine whether the specific conduct
 7   charged is protected by the First Amendment.” Id. at *9. Courts in other First Amendment
 8   cases have similarly dismissed indictments that failed to specify why the speech at issue was
 9   allegedly unprotected under relevant standards.6
10          The government acknowledges that the First Amendment imposes additional pleading
11   requirements, but tries to distinguish cases like Buddenberg and Landham on their facts. It agrees
12   “true threat” cases face heightened pleading because they “involve unique contextual consid-
13   erations of the relationship between the parties,” but disregards them because “this is not a
14   threats case.” Resp. 16 n.17. This misses the point entirely. Every attempt to criminalize speech
15   faces heightened pleading requirements, and what the indictment must allege is controlled by
16   substantive First Amendment law that applies to the particular offense. In this case, which seeks
17   to hold a web publisher criminally liable for ads posted by third parties, the First Amendment
18   requires specific allegations as to both the particular speech for which Defendants are alleged
19   to be criminally responsible, and that it is unprotected under established First Amendment
20   doctrine. Sineneng-Smith, 910 F.3d at 480-85; Buddenberg, 2010 WL 2735547, at *8. This
21

22      6   See Cassidy, 814 F. Supp. 2d at 583 (dismissing federal cyberstalking indictment where
23   allegations failed to meet substantive First Amendment standard for harassment); United States
     v. Baker, 890 F. Supp. 1375, 1385 (E.D. Mich. 1995) (“Whether … prosecution under § 875(c)
24   encroaches on constitutionally protected speech is a question appropriately decided by the
     Court as a threshold matter.”), aff’d on other grounds sub nom. United States v. Alkhabaz, 104 F.3d
25   1492 (6th Cir. 1997); United States v. Wagner, 1984 U.S. Dist. LEXIS 20481 (N.D.N.Y. Jan. 12,
26   1984) (to be constitutionally sufficient, indictment must allege details of threat to allow
     determination of whether it is protected speech). See also Landham, 251 F.3d at 1084 (“[T]he
27   statement at issue … is not a threat and [indictment] should have been dismissed on Landham’s
     motion.”); Sineneng-Smith, 910 F.3d at 480-85 (reversing denial of motion to dismiss charges for
28
     facilitating illegal immigration).

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 1   requirement specificity is completely absent in the SI.
 2           The government suggests that providing a platform for ads is unprotected “speech
 3   integral to criminal conduct,” Resp. 17, but neither sets forth the constitutional test for this
 4   First Amendment exception nor attempts to show how the SI includes the necessary
 5   allegations. The Ninth Circuit explained that “some speech that aids or abets a crime is so
 6   integral to the crime itself that it is not constitutionally protected, [but] other speech related to
 7   criminal activity is not so integral as to be unprotected.” Sineneng-Smith, 910 F.3d at 481 (emphasis
 8   added) (speech encouraging or inducing violation of immigration law is not integral to criminal
 9   conduct). To satisfy the “speech integral” exception, the government must show the targeted
10   speech is for the “sole immediate purpose” of furthering a specific crime. Id. at 480-81
11   (quoting Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498-502 (1949)). Knowledge that a
12   publisher is transmitting a third party’s “illegal speech” is not enough to render publication
13   “integral to criminal conduct” and outside First Amendment protection. Bartniki v. Vopper, 532
14   U.S. 514, 529-30 (2001).7
15           Additionally, it is not enough for a speaker to encourage illegal action (which necessarily
16   requires advance knowledge of the speech in question), but the speaker must also take active
17   steps to assist the illegality. Sineneng-Smith, 910 F.3d at 481-82. See Free Speech Coalition, 535 U.S.
18   at 253-54 (“The mere tendency of speech to encourage unlawful acts is not a sufficient reason
19   for banning it.”); United States v. Freeman, 761 F.2d 549, 551-52 (9th Cir. 1985) (reversing
20   convictions for 12 counts for counseling tax evasion but affirming two where defendant “not
21   only counseled but also assisted in the filing of false returns”) (emphasis added). Because the
22   “speech integral” exception requires the government to show “specific intent to facilitate the
23   commission of a crime,” Sineneng-Smith, 910 F.3d at 482 (citation omitted), a web publisher
24

25       7 The government falsely asserts that Defendants’ counsel “admitted” that an online
26   platform’s knowledge of an illegal posting is alone sufficient for an indictment. Resp. 21. But
     as the quoted language indicated, counsel explained that criminal liability may apply when there
27   is actual advance knowledge of an illegal proposal and active participation in the crime. Doc.
     446-1 at 39.
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 1   must have both knowledge of the particular “solicitation” at issue and take steps to further the
 2   particular illegal acts.8 Such specifics must be alleged in the indictment, but they are missing
 3   from the SI.
 4          C.      Under the First Amendment, Do Different Standards Apply for Potential
                    Liability of Speakers and Publishers?
 5

 6          The government’s conclusory mantra that prostitution ads are not protected by the First

 7   Amendment erroneously conflates the speaker with the publisher/distributor. Resp. 2, 17, 27.

 8   Contrary to the SI’s assumptions and numerous statements in the Response, see, e.g., Resp. 33,

 9   Defendants are not charged with proposing illegal transactions—they are charged with owning,

10   operating, and profiting from a platform on which third parties posted ads. Thus, citation to

11   cases that say the First Amendment does not protect ads written by prostitutes specifically to

12   advertise sex for money are inapposite.9 Those cases do not apply to the activities of

13   publishers of third-party speech.

14          The government is on no firmer ground citing Pittsburgh Press Co. v. Pittsburgh Comm’n on

15   Human Rights, 413 U.S. 376 (1973). Resp. 2, 17. Pittsburgh Press involved a newspaper advertising

16   category that on its face violated a municipal anti-discrimination ordinance, and would apply here

17   only if Backpage had maintained a “prostitution” category and accepted ads with explicit sex-

18   for-money offers. That is not the situation here, of course, and the SI contains no such allega-

19   tion. The government attempts to overcome this by simply equating adult or escort ads with

20   ads for illegal prostitution, alleging that if Defendants sought to promote ads in the adult

21   category, they were automatically “facilitating” prostitution, and trying to shift the burden to

22

23
        8   Braun v. Soldier of Fortune Magazine, Inc., 968 F.2d 1110 (11th Cir. 1992), cited by the
24   government, provides no support for its position. Resp. 17. The modified negligence standard in
25
     that case was applicable only where the publisher was aware in advance of the particular ads that
     on their face (and without investigation) unambiguously promoted illegal activity. This standard
26   for liability applied only for compensatory civil damages, and the court emphasized it would not
     apply to punitive sanctions. Braun, 968 F.2d at 1119 & n.7.
27
        9 E.g., Resp. 2, 17, 27, 29 (citing, e.g., Erotic Serv. Provider Legal Educ.& Res. Project v. Gascon,
28
     880 F.3d 450, 461 (9th Cir. 2018); Coyote Publ’g, Inc. v. Miller, 598 F.3d 592, 604 (9th Cir. 2010)).

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 1   Defendants to prove otherwise. See, e.g., Resp. 28 (“These assertions are based on the false
 2   premise that these practices didn’t involve prostitution ads.”). The SI is based on the fallacy that
 3   the government has no obligation to allege facts regarding specific illegal ads once it makes the
 4   generalized charge that “all” adult ads were for illegal activity. Id. 2, 17, 27, 29. The government
 5   asserts this assumption is valid, because otherwise, “posting even one licit ad—among millions
 6   of illicit ones—would immunize the website.” Id. 35.
 7           This is nonsense. As with the overarching theory of prosecution, it gets things
 8   backwards. The issue is not that a single legal ad bars prosecution; it is that the First
 9   Amendment presumes speech is protected, so a constitutionally-sufficient indictment must
10   allege that: (1) particular ads were for illegal activity, (2) Defendants had knowledge of those ads in
11   advance, and (3) they specifically intended to further those ads’ illegal purpose. This is because
12   selling ad space is lawful activity that is unquestionably protected, even in the adult category.10
13   As the Ninth Circuit has cautioned, Pittsburgh Press does not support an assumption that the
14   government may dispense with First Amendment requirements and presume speech is
15   unlawful. See Valle Del Sol Inc. v. Whiting, 709 F.3d 808, 822 (9th Cir. 2013); cf. Sineneng-Smith,
16   910 F.3d at 481 n.10. (observing that Pittsburgh Press “relies on the since-weakened distinction
17   between commercial and non-commercial speech”).
18           The government’s conflation of speaker and publisher in this case exposes the
19   emptiness of its position. If a person is charged with making statements alleged to be
20   constitutionally unprotected speech, the indictment is obviously defective if it fails to set forth
21   the specific statements that person allegedly made.11 That was the point of Buddenberg, where
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23
        10  McKenna, 881 F. Supp. 2d at 1282 (escort ads have long been permitted and many states
24   license and regulate the practice); Backpage.com, LLC v. Cooper, 939 F. Supp. 2d 805, 828-40
     (M.D. Tenn. 2013) (Tennessee law targeting Backpage is invalid under the First Amendment
25
     “as a clear-cut example of a content-based regulation on speech”); Backpage.com, LLC v.
26   Hoffman, 2013 WL 4502097, at *9-11 (D.N.J. Aug. 20, 2013) (New Jersey law invalidated as “a
     clear cut example of a content based restriction on speech”).
27
        11  Buddenberg, 2010 WL 2735547, at *3-4 (examination of whether protected speech is at
28   issue “cannot occur unless the specific speech and conduct is identified”). Of course, an

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 1   the defendants were charged with making threats and engaging in harassment and intimidation.
 2   The court dismissed the indictment on First Amendment grounds because it alleged “no facts
 3   identifying what each defendant is alleged to have done, to whom, where or when.” Buddenberg,
 4   2010 WL 2735547, at *3. It held it is plainly inadequate to rely on allegations regarding
 5   “defendants’ conduct as a whole.” Id. at *8-10.
 6          The government contrasts Buddenberg with the indictment in United States v. White, 638 F.
 7   Supp. 2d 935 (N.D. Ill. 2009), rev’d, 610 F.3d 956 (7th Cir. 2010), Resp. 41-42, but White did not
 8   involve third-party speech, much less an attempt to hold publishers responsible for content of
 9   postings of which the defendants had neither advance knowledge nor specific intent to further
10   an associated business enterprise. There, the Seventh Circuit upheld the sufficiency of the
11   indictment for soliciting a crime of violence where it listed specific content and dates of posts
12   the defendant made on his website (including providing names and addresses of jurors in a hate
13   crime trial as well as specific statements such as “everyone associated with the Matt Hale trial
14   has deserved assassination for a long time”). White, 610 F.3d at 957-58. If White were like this
15   case—the defendant charged for “solicitations” made by others with no allegations he had ever
16   seen the specific statements—the indictment would have been instantly dismissed.
17          Cases cited in the Motion (pp. 35-37) highlight the SI’s flaws in alleging culpability for
18   third-party speech, and the government’s attempt to distinguish them falls flat. Resp. 42. It
19   dismisses Dart v. Craigslist as merely involving a civil complaint for “negligent publishing” while
20   ignoring that the allegations in that case were nearly identical to those in the SI: that a website
21   violated local law banning prostitution and the Travel Act because users “routinely post ad[s]
22   …‘openly promis[ing] sex for money,’” often using “code words” and including “nude or
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24

25
     indictment that lists specific statements but fails to allege how those statements meet
26   substantive First Amendment standards also must be dismissed. Cassidy, 814 F. Supp. 2d at
     583, 588-92 (dismissing indictment that detailed numerous statements on specific dates as
27   “directed at protected speech that is not exempted from protection by any of the recognized
     areas”).
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 1   nearly-nude pictures.” Dart v. Craigslist, Inc., 665 F. Supp. 2d 961, 962-63 (N.D. Ill. 2009).12
 2   The sheriff argued the case was not about freedom of speech because “[o]ffers to engage in
 3   illegal transactions are excluded from First Amendment protection” and, instead, it was “about
 4   a business that created an online forum for illegal conduct.” Resp. to Craigslist’s Mot. for
 5   Jdgmt. on the Pldgs., Dart v. Craigslist (No. 09 CV 1385), 2009 WL 2010677, at 3-4 (N.D. Ill.
 6   2009). Rejecting this, the court dismissed the complaint, finding it “relies heavily on a few
 7   conclusory allegations to support the contention that Craigslist induces users to post ads for
 8   illegal services,” 665 F. Supp. 2d at 967, 969, and that providing a platform for speech of
 9   someone who might commit illegal acts “does not satisfy the ordinary understanding of
10   culpable assistance to a wrongdoer.” Doe v. GTE Corp., 347 F.3d 655, 659 (7th Cir. 2003).
11           The government’s attempt to distinguish Dart and rulings involving Backpage as
12   relevant only to statutory Section 230 immunity is wrong both in fact, and on the law. Resp. 2,
13   21, 28. It ignores how three federal courts invalidated state laws designed to shut down
14   Backpage (on both First Amendment grounds and under Section 230) because they relied on
15   the same fallacious assumption as here that equates adult ads with prostitution.13 It also tries to
16   discount the Seventh Circuit’s First Amendment ruling in Backpage.com, LLC v. Dart, 807 F.3d
17   229 (7th Cir. 2015) as undermined by Ferrer’s untested plea agreement, Resp. 3, 21, but nothing
18   has affected that court’s holding that it is unconstitutional to assume all adult ads are illegal and
19   to censor speech on that basis.14
20

21      12 See Compl., Dart v. Craigslist (No. 09 CV 1385), 2009 WL 564291, ⁋⁋ 1, 30-31 (N.D. Ill.
     2009); id. ⁋ 32A.-L. (listing examples of the offending ads); id. ⁋⁋ 86-89, 99, 112 (detailing
22
     condemnation of Craigslist by national media, members of Congress, state attorneys general,
23   and the local sheriff); id. ⁋⁋ 116-126 (alleging Craigslist violated the Travel Act because it was
     “responsible in part for the creation of the offending content” and that it “induces users to
24   post prostitution related ad[s]”).
25      13   McKenna, 881 F. Supp. 2d at 1282; Cooper, 939 F. Supp. 2d at 833-34; Hoffman, 2013 WL
26   4502097, at *9-11. Cf. Craigslist, 665 F. Supp. 2d at 968 (the sheriff “is simply wrong when he
     insists that these terms are all synonyms for illegal sexual services”).
27
        14The government emphasizes how the Dart district court sanctioned Backpage on
28   grounds Ferrer’s plea agreement here contradicted his earlier testimony in that case. That

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 1           Even where courts dismissed criminal charges against Backpage defendants under Section
 2   230, they framed the legal question as “whether, and to what extent, Defendants’ activities entitle
 3   them to protection of their First Amendment rights through the immunity provision of the CDA.”
 4   Ferrer I, 2016 WL 7237305, at *3 (emphasis added). As one of those courts noted, “protections
 5   afforded by the First Amendment were the motivating factors behind the enactment of the
 6   CDA.” Ferrer II, slip op. at 11. On that basis, the courts held the editorial practices at issue here,
 7   including “aggregation” and “moderation” are not valid bases for imposing criminal liability.
 8   Ferrer II, slip op. at 16; Ferrer I, 2016 WL 7237305, at *11.15
 9           The government’s assertion that several courts “have recently recognized that
10   prostitution websites like Defendants [sic] may be prosecuted under federal law” is false. Resp.
11   3, 20-21. Two of the three references in what the government calls “several cases” involve no
12   more than plea agreements with very different allegations, where no First Amendment
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     court’s reliance on Ferrer’s statement is premature, given that no court has yet accepted his
15   plea. Moreover, plea agreements “may adopt facts that the government wants to hear in
     exchange for some benefit,” United States v. Vera, 893 F.3d 689, 692-93 (9th Cir. 2018), and are
16   “presumptively unreliable.” Lee v. Illinois, 476 U.S. 530, 541 (1986). Cf. Bruton v. United States,
17   391 U.S. 123 (1968) (admission of co-defendant’s confession inculpating defendant is reversible
     error). More importantly, the government’s suggestion that the Seventh Circuit reconsidered
18   its First Amendment holding in Dart, citing United States v. Jackson, 865 F.3d 946 (7th Cir. 2017),
     vacated, 138 S. Ct. 1983 (2018), is a blatant effort to mislead this Court. Resp. 3, 25, 35-36.
19
     Jackson says nothing of the kind, but merely notes in dictum that Backpage formerly had an
20   “adult section” that included ads for “sex work.” Nothing in Jackson disturbs the Seventh
     Circuit’s First Amendment holding that “not all advertisements for sex are advertisements for
21   illegal sex.” Dart, 807 F.3d at 234.
22      15  Moreover, the government’s argument that cases involving Section 230 are irrelevant
23   does not stop it from trying to rely on allegations in civil cases to support the SI. E.g., Resp. at
     3, 25 (citing J.S. v. Village Voice Media Holdings, Inc., 359 P.3d 714 (Wash. 2015); Jane Doe No. 1 v.
24   Backpage.com, LLC, 817 F.3d 12 (1st Cir. 2016)). Notably, J.S. has recently been debunked as
     reliant on pleading standards totally at odds with those for criminal liability and as an erroneous
25
     application of law. Daniel v. Armslist, LLC, 926 N.W.2d 710, 725 (Wis. 2019). In Doe No. 1,
26   817 F.3d at 21, the First Circuit held that Backpage was not liable, and suggested the degree of
     involvement “sufficient to render its operator both a publisher and a participant” might include
27   where “the website operator helped to procure the underaged youths who were being
     trafficked.” Of course, the SI contains no such allegations.
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 1   questions were presented or decided.16 See supra n.14 (discussing unreliability of plea
 2   agreements). The third, United States v. Ulbricht, 31 F. Supp. 3d 540 (S.D.N.Y. 2014), involved
 3   prosecution of the creator of Silk Road, whose website openly invited ads for unlawful
 4   activities (with categories such as “Cannabis,” “Opioids,” and “Ecstasy”), openly advertised the
 5   purchase and sale of thousands of kilograms of heroin and cocaine and “malicious software
 6   designed for computer hacking,” and participated in each sale by escrowing payments pending
 7   completion of transactions and collecting a commission of 8% to 15% from every sale. Id. at
 8   549-50; United States v. Ulbricht, No. 13-mj-02328 (S.D.N.Y.), Sealed Indictment, Dkt. 1, ⁋⁋ 8(a),
 9   19(b)-(c), 21(d)-(h) (attached as Exhibit A). In short, Ulbricht involved the type of knowledge
10   and active assistance required for the “speech integral to criminal conduct” exception that is
11   missing here. And contrary to the government’s claims, Ulbricht was not even charged with a
12   Travel Act violation, but for narcotics trafficking. Even more damning, the indictment did not
13   allege Ulbricht was criminally liable for launching a website that others misused, and the court
14   pointedly noted “[i]f that were ultimately the case, he would lack the mens rea for criminal liability.”
15   Ulbricht, 31 F. Supp. 3d at 556 (emphasis added).
16            The government is painfully aware of the constitutional limits of its theory of vicarious
17   liability because of its unsuccessful effort to pursue Backpage and its owners through a grand
18   jury proceeding in the Western District of Washington. Judge Richard Jones quashed
19   government subpoenas after expressing concerns
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27        See United States v. Omuro, No. 14-cr-00336-WHO (N.D. Cal.); United States v. Hurant, No.
         16

     CR 16-cr-00045-MKB (E.D.N.Y.).
28


                                                   13
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 1                                                       17


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 5                            The SI makes the same fatal error.
 6           D.     May the Government Found an Indictment on Generalized Knowledge
                    that Third-Party Speech Resulted in Criminal Conduct?
 7

 8           The government’s central theme is that, if third parties commit criminal conduct through

 9   online posts, the website’s publisher or owners may be criminally liable for the conduct even if

10   they have no knowledge of particular ads and no intent to further an unlawful business

11   enterprise associated with those ads. Resp. 37 (advancing theory it can prosecute a website

12   based on general design and operation). The government even goes farther out on this limb,

13   claiming liability can be imposed if it was “reasonably foreseeable” that violations of the law

14   would occur, even without direct knowledge or involvement by any particular Defendant. Id. 14.

15   This is the “novel theory of vicarious liability” courts have rejected repeatedly for 30 years, and

16   specifically as to Backpage. Such generalized allegations are facially deficient under general First

17   Amendment principles, under the “speech integral to crime” exception, and under the

18   applicable statutory mens rea provisions.

19           The government’s effort to avoid specific intent as the required mens rea is unavailing and

20   fatal to the SI. None of the cases it cites on mens rea involved First Amendment issues.18 Alle-

21   gations of knowledge of the specific statement alleged to be illegal (combined with the requisite

22   intent) are essential to any claim that speech is unprotected. See supra 4-8. The government’s

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24      17 In re Grand Jury Subpoenas to Backpage.com, LLC and Village Voice Media Holdings, LLC, No.
25
     GJ12-172RAJ (W.D. Wash. Jan. 17, 2013) (order granting Backpage’s motion to quash and
     denying the government’s motion to compel) (attached as Exhibit B). Materials from this
26   grand jury proceeding were previously filed in this case. See Doc. 541-4.
27      18   Resp. 30-31. See United States v. Welch, 327 F.3d 1081 (10th Cir. 2003) (bribery); United
     States v. Tavelman, 650 F.2d 1133 (9th Cir. 1981) (conspiracy to possess cocaine); United States v.
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     Polizzi, 500 F.2d 856 (9th Cir. 1974) (gambling enterprise).

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 1   claim that mens rea is a “jury issue,” Resp. 30, simply does not apply in the First Amendment
 2   context, where the indictment must identify specific speech and how it is allegedly unprotected.
 3   United States v. Cassel, 408 F.3d 622, 632 (9th Cir. 2005) (“[T]he element of intent [is] the
 4   determinative factor separating protected expression from unprotected criminal behavior.”).
 5   Where, as here, the SI fails to recite an essential element of the charged offense, the indictment
 6   must be dismissed. United States v. Du Bo, 186 F.3d 1177, 1179 (9th Cir. 1999). See Mot. 37.
 7            The government misreads Smith v. California, 361 U.S. 147 (1959), and Mishkin v. New
 8   York, 383 U.S. 502 (1966), in arguing it need only allege a defendant was generally aware “of
 9   the character” of Backpage’s “adult” ads. Resp. 35-36. In Mishkin, the Court found the
10   State’s showing of scienter sufficient as to 50 specific books where the defendant hired
11   writers and specifically instructed them about the content to include. 383 U.S. at 503-05, 511-12. In
12   Smith, 361 U.S. at 153-54, the Court held a bookseller could not be criminally liable for
13   allegedly obscene books in its store absent proof he had knowledge concerning contents of a
14   given book.19 No case supports the government’s expansive claim that the government may
15   allege mens rea regarding unprotected speech in bulk. Were the law otherwise, the government
16   could indict a bookseller based on the allegation that he operated an “adult bookstore”
17   without naming any of the titles subject to the charge. The government’s reading of the cases
18   is all the more absurd in this context, where a website publishes millions of ads written by
19   third parties.
20            The government tries, unconvincingly, to distance itself from its own admissions that
21   federal statutes require specific foreknowledge and intent. See Mot. 28-30. It has argued in
22   other cases that it must prove not just that defendants knew that particular ads were for
23   prostitution, but that they had specific intent to facilitate those particular acts of prostitution. Woodhull
24   Freedom Found. v. United States, 334 F. Supp. 3d 185, 199-201 (D.D.C. 2018) (government argued
25   prosecutions under the Travel Act must prove “not simply that the defendant was aware of a
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27       19 Any attempt to compare the level of involvement in Mishkin to Backpage’s operation is
     obviously inapposite, where none of the Defendants were alleged to have engaged with any
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     third-party posters and there are no allegations they ever saw any of the ads in the SI.

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 1   potential result of the criminal offense, but instead that the defendant intended to ‘explicitly
 2   further[]’ a specified unlawful act”), appeal filed, No. 18-5298 (U.S. Oct. 12, 2018). The court
 3   agreed and held that, to avoid First Amendment problems, the new law challenged in Woodhull,
 4   like the Travel Act, could apply only to “specific unlawful acts with respect to a particular
 5   individual, not the broad subject-matter of prostitution.” Id.
 6           The government’s claim that this mens rea is a statutory requirement only under other
 7   laws, Resp. 37, is utterly disingenuous. It claims specific intent is the standard when it
 8   defends statutes (including FOSTA and the Travel Act) from constitutional challenge, then
 9   reverts to an entirely different standard in its theory of prosecution. Here, the government
10   claims it can prosecute based on the general design of the website, Resp. 37, or even where it
11   is “reasonably foreseeable” prostitution ads will be posted. Id. 14. But the government cites
12   no authority to support prosecuting a publisher of third-party content under such lax mens rea
13   standards.
14           Even apart from baseline First Amendment requirements, the SI fails under the specific
15   intent requirements of the Travel Act. Mot. 26-27. See United States v. Gibson Specialty Co., 507
16   F.2d 446, 449 (9th Cir. 1974). The government does not take serious issue with Gibson’s
17   holding that the sale of a legal product or service does not satisfy specific intent even when a
18   seller knows the buyer may be violating a particular law. Id. at 449-50.20 Instead, it cites
19   Tavelman, 650 F.2d at 1138, and asserts prosecutors need only allege general intent “to promote
20   an unlawful activity.” Resp. 32. But Tavelman involved sale of illegal drugs, not a legal service
21   like the sale of ad space, so the attempt to distinguish Gibson fails.
22           On the other hand, if the Travel Act can be interpreted and applied as broadly as the
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24
        20   The government speculates that Gibson might have gone the other way if the allegations
25   there had been more like those in the SI. Resp. 31. But in doing so, it contradicts Gibson’s
26   holding that merely engaging in a legal business, even with knowledge that particular customers
     violate state laws by purchasing your goods and services, is not sufficient to show “intent to
27   facilitate a criminal venture.” 507 F.2d at 449. Accord Welch, 327 F.3d at 1095 (the Travel Act
     requires government to “prove Defendants acted with a higher level of culpability than mere
28
     knowledge; it “requires a specific ‘intent to ... promote[.]’”

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 1   government suggests, so that it can prosecute the operator of any website that makes criminal
 2   activity “easier,” the Act as applied violates the First Amendment because it is both overly
 3   broad and vague. Mot. 39-42. The government actually embraces this boundless reading of
 4   the law, noting that “facilitation” under the Act means “to make easy or less difficult,” Resp. 32
 5   n.16, but then argues the Travel Act is not overly broad because it employs a mens rea
 6   requirement of specific intent. Id. 43. But the government cannot have it both ways—arguing
 7   the Travel Act is constitutional because it requires specific intent, but claiming this prosecution
 8   may proceed if it was “reasonably foreseeable” that violations of the law would occur. The
 9   government’s theory that it may prosecute even without direct knowledge or involvement by
10   any particular Defendant is fatal to its case. Resp. 14. As in Cassidy, 814 F. Supp. 2d at 587,
11   such untethered regulation of speech should result in the dismissal of this indictment.
12          E.      What Does the Indictment Actually Allege Regarding Defendants?
13          As Amici DKT Liberty Project, Cato Institute, and Reason Foundation note, “[u]nder
14   the government’s theory of the case set forth in the indictment, the only distinction between
15   protected sexually oriented speech and the unlawful speech Defendants are alleged to have
16   promoted is Defendants’ purported ambient awareness of the speech’s general unlawfulness.”
17   (Amicus at 9). The government responds the SI is sufficient because it “contains more than
18   200 paragraphs of allegations showing how Defendants worked together to facilitate
19   prostitution” and “more than 50 examples of prostitution ads published on Backpage.” Resp.
20   16. But what the SI lacks—which the government concedes—are any allegations that the
21   Defendants had any connections to, or any awareness of, any of the “50 examples” (or of any
22   particular illegal ad), or any intent to further any unlawful business enterprise.
23          Instead, the government alleges generally that Backpage was a “prostitution website”
24   and that it may rely on general allegations that “all” or “nearly all” the ads were for illegal
25   purposes. Resp. 17. Labeling Backpage a “prostitution advertising website” is no more
26   meaningful as a constitutional matter than if the government called an adult bookstore an
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 1   “obscenity palace.” The government’s allegation that it identified “scores” of prostitution ads
 2   that appeared on Backpage—out of the millions of ads that ran each month—says nothing
 3   about the criminal culpability of the website’s former owners for the content of such ads.21
 4           As explained in the Motion, the SI claims Defendants had a general awareness that “the
 5   vast majority” of the ads in Backpage’s adult or escort sections were for prostitution based on
 6   the assumption that adult ads and prostitution ads are synonymous. Mot. 31-34 (analyzing
 7   specific allegations in SI as to each Defendant). The government responds with several pages
 8   of bullet-points that repeat the allegations—but none suggest awareness of any particular ads
 9   by the Defendants. See Resp. 38-41. For the self-service ads listed in the SI alleged to be for
10   prostitution, the government does not allege any Defendant had ever seen them (or even had
11   the opportunity to do so). And even if the SI had alleged awareness by Defendants of any of
12   the ads, it does not explain how that would translate to the required level of mens rea. 22 The
13   government concedes the SI draws no connection between any of the allegedly illegal ads and
14   any Defendant in this case.
15           Tellingly, in every instance where the SI alleges any direct knowledge of a particular ad
16   or other involvement by “Backpage,” the person named in the SI is Carl Ferrer, not any
17   Defendant in this case.23 The law is clear that where proof of defendant’s specific knowledge is
18   required, it is not satisfied via imputation of knowledge of alleged co-conspirators. E.g., United
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        21  In just the month of April 2012, Backpage users posted more than 3.3 million ads.
21   Cooper, 939 F. Supp. 2d at 813. For the 14-year period of the government’s prosecution,
22   Backpage users posted some 350 million ads, and the government’s accusations about a
     handful, or even “thousands upon thousands” that it claims were improper, amounts to an
23   infinitesimal portion of the ads posted on the site.
24      22  See McKenna, 881 F. Supp. 2d at 1279 (“The pimp that publishes the ad[] certainly ‘knows’
     whether his offer is for sex [but] … what does it mean for the website operator to ‘know’ that
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     an ad[] … offers sex” when a third party is incapable of “ascertain[ing] that which is being
26   offered before the transaction is consummated”?).

27      23See Resp. 8 (citing SI ⁋⁋ 118-19); id. at 9 (citing SI ⁋⁋ 59-67, 91, 132); id. 17 (citing SI
     Counts ⁋⁋ 3, 6-11, 18, 25-26, ⁋ 132); id. 32 n.17 (citing SI ⁋⁋ 61, 132, 160-176).
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 1   States v. Vallone, 698 F.3d 416, 457 (7th Cir. 2012) (citing Jefferson v. United States, 340 F.2d 193,
 2   197-98 (9th Cir. 1965), vacated sub nom. on other grounds, Dunn v. United States, 570 U.S. 901
 3   (2013)); United States v. Spock, 416 F.2d 165, 173 (1st Cir. 1969). The Supreme Court has long
 4   refused to attribute to criminal defendants actual knowledge of other conspirators.24 As the
 5   Ninth Circuit held, “so-called ‘constructive’ notice or knowledge … based upon the actual
 6   knowledge of a co-conspirator … has no tendency, circumstantially or otherwise, to prove
 7   criminal intent.” Phillips, 356 F.2d at 303. This is particularly true when the First Amendment
 8   is involved.25 The government’s reliance on Ferrer’s asserted knowledge cannot satisfy the
 9   obligation to plead the specific intent and actual knowledge of the indicted Defendants.
10           The government tries to make up for these deficiencies by alleging Ferrer “knew”
11   virtually all the ads on Backpage were for prostitution, and claiming this “knowledge” can be
12   imputed to the other Defendants. However, with millions of ads placed each month, there is
13   no basis for these claims. The fact that Ferrer now asserts in his plea agreement that he
14   believed most adult ads on Backpage were for prostitution is of no relevance regarding
15   sufficiency of the indictment here.26
16           Adult classified advertising is presumptively protected by the First Amendment, and
17   blanket allegations regarding efforts to do business in the adult and escort areas through such
18   methods as “aggregation,” the “Dallas Plan,” and reciprocal-link arrangements are not the type
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        24   See Phillips v. United States, 356 F.2d 297, 304 (9th Cir. 1965) (discussing Ingram v. United
21   States, 360 U.S. 672 (1959)); see also, e.g., Reisman v. United States, 409 F.2d 789, 790-92 (9th Cir.
22   1969).

23      25  “Where a conspiracy implicates First Amendment protections such as freedom of
     association and freedom of speech, the court must make a ‘specially meticulous inquiry’ into
24   the government’s evidence so there is not ‘an unfair imputation of the intent of some
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     participants to all others.’” United States v. Stone, 2012 WL 1034937, at *2 (E.D. Mich. Mar. 27,
     2012) (quoting United States v. Dellinger, 472 F.2d 340, 392 (7th Cir. 1972)). See also generally
26   NAACP v. Claiborne Hardware Co., 458 U.S. 886, 918-24, 933-34 (1982).
27      26  Ferrer’s plea, which asserts things he cannot possibly know about millions of ads, is
     inherently unreliable (see supra 12 n.14), and does nothing to ameliorate the absence of any
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     allegations of the specific mens rea of the Defendants.

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 1   of specific allegations necessary to identify what speech is alleged to be illegal. Buddenberg, 2010
 2   WL 2735547, at *8-10 (government cannot rely on allegations regarding “the defendants’
 3   conduct as a whole”). Equally as important, because adult ads are constitutionally protected,
 4   the SI’s allegations do not allege a chargeable crime congruent with the commands of the First
 5   Amendment. Cassidy, 814 F. Supp. 2d at 583, 588-92 (dismissing indictment because it was
 6   “directed at protected speech that is not exempted from protection by any of the recognized
 7   areas”).
 8                                        III.   CONCLUSION
 9          For the foregoing reasons, the Defendants respectfully request that the Court dismiss
10   the Indictment.
11          DATED this 17th day of July, 2019.
12                                        DAVIS WRIGHT TREMAINE LLP
                                          s/ Robert Corn-Revere
13                                        s/ James C. Grant
14                                        Attorneys for Michael Lacey and James Larkin

15                                        LIPSITZ GREEN SCIME CAMBRIA LLP
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16                                        Attorneys for Michael Lacey
17
                                          BIENERT KATZMAN, PLC
18                                        s/ Thomas H. Bienert, Jr.
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19
                                          FEDER LAW OFFICE PA
20                                        s/ Bruce Feder
21                                        Attorney for Scott Spear

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 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on July 17, 2019, a true and correct copy of the foregoing document
 3   was electronically filed with the Clerk of the United States District Court of the District of
 4   Arizona by using the CM/ECF system, and that service will be accomplished by the CM/ECF
 5   system to all counsel of record.
 6
                                          s/ Robert Corn-Revere
 7                                        Attorney for Michael Lacey and James Larkin
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